     Case 19-03913-5-SWH                   Doc 8 Filed 08/27/19 Entered 08/27/19 07:00:03                    Page 1 of 1
VAN−006 Order Appointing Interim Trustee and Approving Standing Bond − Rev. 10/01/2013

                             UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
                                                           Raleigh Division

IN RE:
Otis James Parrish Jr.                                                 CASE NO.: 19−03913−5−SWH
1900 Orchard Hollow Lane
Apt. 105                                                               DATE FILED: August 26, 2019
Raleigh, NC 27603
                                                                       CHAPTER: 7




                ORDER APPOINTING INTERIM TRUSTEE AND APPROVING STANDING BOND

IT IS ORDERED AND NOTICE IS HEREBY GIVEN THAT:

The following interim trustee is hereby appointed, and the trustee's standing bond is fixed under the
blanket bond heretofore approved.

James B Angell
Howard Stallings et al, P.A.
PO Box 12347
Raleigh, NC 27605−2347

DATED: August 27, 2019

                                                                            Stephani W. Humrickhouse
                                                                            United States Bankruptcy Judge
